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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

                                            :
                                            :
 STEPHEN BUSHANSKY,
                                            : Case No. 4:20-cv-10107-SDD-DRG
                     Plaintiff,             :
                                            :
       v.                                   : NOTICE OF VOLUNTARY
                                            : DISMISSAL
 DIPLOMAT PHARMACY, INC.,                   :
 BRIAN GRIFFIN, PHILIP R.                   :
 HAGERMAN, BENJAMIN WOLIN,                  :
 REGINA BENJAMIN, DAVID C.
 DREYER, KENNETH KLEPPER, and               :
 SHAWN C. TOMASELLO,                        :
                                            :
                     Defendants.            :
                                            :

      PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), plaintiff Stephen Bushansky (“Plaintiff”) voluntarily dismisses the

claims in the captioned action (the “Action”) without prejudice. Because this notice

of dismissal is being filed with the Court before service by defendants of either an

answer or a motion for summary judgment, Plaintiff’s dismissal of the Action is

effective upon the filing of this notice.

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Dated: March 13, 2020                    WEISSLAW LLP


                                         /s/ Richard A. Acocelli
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